Case 18-09108-RLM-11              Doc 779        Filed 09/23/19        EOD 09/23/19 11:07:02              Pg 1 of 40



                              UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                        INDIAN APOLIS DIVISION

 IN RE:             USA GYMNASTICS^                                            Chapter 11
                             Debtor.                                           Case No. 18-09108-RLM-ll



                    NOTICE OF DRAW RE: MONTHLY FEE STATEMENTS
 OF MILLER JOHNSON AS SPECIAL COUNSEL TO THE DEBTOR IN POSSESSION,
          FOR SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES,
                 FROM AUGUST 1, 2019 THROUGH AUGUST 31, 2019
                   PURSU ANT TO ORDER GRANTING DEBTOR'S MOTION
         FOR ENTRY OF ORDER EST ABLISHING PROCEDURES FOR INTERIM
       COMPENSATION AND REIMBURSEMENT OF PROFESSION ALS[DN 1871

                  Notice is hereby given that Miller Johnson, Special Counsel to the Debtor In
Possession, has filed its Consolidated Monthly Statements of Fees and Expenses for the Period
From August 1, 2019 through August 31. 2019, with the Bankruptcy Court.

               Notice is further given that said statements, which include total fees of $61.128.50
and total expenses of $1,940.54, are attached to hereto as Exhibits A(l)- A(2).

                  If you have an objection to all or any portion of any of the above-referenced
statements, you have fourteen (14) days from the date this notice is filed with the Court to serve a
written Notice of Objection on Miller Johnson, Attn: John T. Piggins, P.O. Box 306, Grand
Rapids, Michigan 49501-0306 and by email at pigginsifemilleriohnson.com. The Notice of
Objection must set forth the precise nature of the objection and the amount at issue.

               If no Notice of Objection is timely served on Miller Johnson, the Debtor shall
promptly pay 80% of the fees and 100% of the expenses set out above, subject to final approval
by the Court at a future hearing.

                If a timely Notice of Objection is served regarding some but not all of the above-
referenced fees and expenses, the Debtor shall promptly pay 80% of the fees and 100% of the
expenses that are not the subject of a timely Notice of Objection, subject to final approval by the
Court at a future hearing.

               If you serve a Notice of Objection on Miller Johnson and you are unable to resolve
your objection within fourteen (14) days after ser\dce, you may file your objection with the Court.

                Upon filing an objection with the Court, a subsequent Notice will be sent to you
with the date, time and location of the hearing on the objection.



'The last four digits of the Debtor's federal tax identification number are 7871. The location of the Debtor's
principal office is 130 E. Washington Street. Suite 700. Indianapolis. Indiana 46204.



MJ DMS 31068916V
Case 18-09108-RLM-11        Doc 779     Filed 09/23/19     EOD 09/23/19 11:07:02         Pg 2 of 40



                              A COPY OF ANY OBJECTION
                 FILED WITH THE COURT MUST ALSO BE SENT TO:


       Office of the United States Trustee                       USA Gymnastics
                 101 WOhio St                                130 E. Washington Street
             Indianapolis. IN 46204                                  Suite 700
                                                              Indianapolis. IN 46204

                 Miller Johnson                                  Dean Panos. Esq.
             Attn: John T. Piggins                             Melissa M. Root. Esq.
                 P.O. Box 306^                               Catherine L. Steege, Esq.
         Grand Rapids, MI 49501-0306                           Jenner & Block LLP
                                                                353 N. Clark Street
                And by email to:                                Chicago. IL 60654
          pigtrinsi@milleriohnson.com
                                                     .And by email to dpanos(a:ienner.com:
                                                              mrootiadenner.com: and
                                                               csteegeffl'ienner.com


      Sexual .Abuse Sunivors Committee               Sexual .Abuse Survivors Committee
            c/o Meredith R. Theisen                              c/o James 1. Stang
              Rubin & Levin, P.C.                        Pachulski Stang Ziehl & Jones LLP
       135 N. Pennsylvania St., Suite 1400                   10100 Santa Monica Blvd.
            Indianapolis, IN 46204                                   Ste 1300
                                                              Los Angeles, CA 90067
   And by email to: mtheisen(g;rubin-levin.net
                                                     And by email to: istang@.pszilaw.com



 Date: September 23, 2019
                                                                                 ar#P34495)

                                                         Box 30(
                                                  Grand Rapids. Ml 49501-0306
                                                  (616)831-1793
Case 18-09108-RLM-11   Doc 779   Filed 09/23/19   EOD 09/23/19 11:07:02   Pg 3 of 40




             EXHIBIT A(l)
    Case 18-09108-RLM-11MILLER, JOHNSON,
                          Doc 779         SNELL & CUMMISKEY,
                                   Filed 09/23/19                  P.L.C.
                                                          EOD 09/23/19 11:07:02   Pg 4 of 40
  ____                              Attorneys and Counselors

                                                PO Box 306
                                      Grand Rapids, Michigan 49501-0306
                                               616.831.1700
                                           TAX ID# XX-XXXXXXX


                                                                          Page     1
                                                                          Inv# 1708523
                                                                          Date 09/20/2019
                                                                          42721.00002-DJG
 USA Gymnastics
 Accounts Payable
 130 E Washington Street
 Suite 700
 Indianapolis, IN 46204


Re:   Ropes & Gray and Other Investigations

For Legal Services Rendered through August 31, 2019


 8/01/19      JWC      Create privilege log                                 2.80               420.00

 8/01/19      ACC      Emails to Barnes & Thornburg regarding                .20                43.00
                       supplementing Indiana Attorney General
                       CID

 8/01/19      ACC      Telephone conference with James W.                    .20                43.00
                       Casteel regarding new request for
                       certain files for Indiana attorney
                       general

 8/01/19      ACC      Telephone conference with Amy E.                      .20                43.00
                       Murphy to discuss creation of a
                       privilege log for the Indiana attorney
                       general

 8/01/19      ACC      Coordinate Indiana attorney general                   .40                86.00
                       production issues with James W.
                       Casteel, Amy E. Murphy and Rebecca L.
                       Strauss

 8/01/19      ACC      Draft protocol for project by Epiq to                 .70               150.50
                       create narratives to populate
                       privilege log for the Indiana attorney
                       general

 8/01/19      AEM      Telephone conference with Alejandra                   .20                58.00
                       Contreras regarding preparation of
                       privilege log for Indiana Attorney
                       General production

 8/01/19      AEM      Prepare subject matter descriptions                  1.10               319.00
                       for privilege log to Indiana Attorney
                       General
     Case 18-09108-RLM-11MILLER, JOHNSON,
                           Doc 779         SNELL & CUMMISKEY,
                                    Filed 09/23/19                  P.L.C.
                                                           EOD 09/23/19 11:07:02   Pg 5 of 40
   ____                              Attorneys and Counselors

                                                 PO Box 306
                                       Grand Rapids, Michigan 49501-0306
                                                616.831.1700
                                            TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page     2
                                                           Inv# 1708523
                                                           Date 09/20/2019
                                                           42721.00002-DJG
-------------------------------------------------------------------------------




  8/02/19      ACC      Telephone conference with Mark Stuuan                 .30                64.50
                        regarding conversation with the
                        Indiana attorney general regarding
                        document production issues

  8/02/19      ACC      Telephone conference with Epiq                        .30                64.50
                        regarding privilege log for the
                        Indiana attorney general

  8/02/19      ACC      Telephone conference with Amy E.                      .20                43.00
                        Murphy regarding creation of privilege
                        log for the Indiana attorney general

  8/02/19      ACC      Work on strategy to prepare production               1.00               215.00
                        to investigative agencies

  8/02/19      ACC      Telephone conference with Jenner and                  .50               107.50
                        Block regarding upcoming document
                        productions

  8/02/19      AEM      Prepare privilege log for Indiana                     .30                87.00
                        Attorney General production

  8/02/19      CJS      Correspondence from Mark Stuaan                       .20                70.00
                        regarding Indiana AG investigation

  8/02/19      CJS      Revise summary of new Senate bill                     .40               140.00

  8/05/19      ACC      Telephone conference with Barnes &                   1.00               215.00
                        Thornburg, Rebecca L. Strauss and
                        James W. Casteel regarding previous
                        productions to the Indiana Attorney
                        General and privilege review of same

  8/05/19      ACC      Telephone conference with Jenner &                   1.70               365.50
                        Block and Rebecca L. Strauss regarding
                        creation of privilege protocol for
                        review of documents to be produced

  8/06/19      ACC      Review documents related to a specific               1.00               215.00
     Case 18-09108-RLM-11MILLER, JOHNSON,
                           Doc 779         SNELL & CUMMISKEY,
                                    Filed 09/23/19                  P.L.C.
                                                           EOD 09/23/19 11:07:02   Pg 6 of 40
   ____                              Attorneys and Counselors

                                                 PO Box 306
                                       Grand Rapids, Michigan 49501-0306
                                                616.831.1700
                                            TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page     3
                                                           Inv# 1708523
                                                           Date 09/20/2019
                                                           42721.00002-DJG
-------------------------------------------------------------------------------



                        individual requested by the Indiana
                        attorney general for privilege before
                        production

  8/07/19      ACC      Telephone conference with Mark Stuuan                 .30                64.50
                        regarding response to the Office of
                        the Indiana Attorney General regarding
                        production

  8/07/19      ACC      Telephone conference with Ladene                      .10                21.50
                        Mendoza regarding documents requested
                        by the Indiana attorney general
                        related to a specific individual

  8/07/19      ACC      Emails with Barnes & Thornburg                        .20                43.00
                        regarding response to office of
                        Indiana Attorney General regarding
                        production

  8/07/19      ACC      Review list of documents sent by the                 1.00               215.00
                        Indiana attorney general containing
                        redactions and related documents

  8/07/19      ACC      Emails with Barnes & Thornburg and                    .20                43.00
                        James W. Casteel regarding production
                        of documents related to a specific
                        individual to the Indiana Attorney
                        General

  8/08/19      ACC      Emails to Ladene Mendoza regarding                    .10                21.50
                        review of documents

  8/08/19      ACC      Emails to Epiq regarding documents                    .20                43.00
                        produced to the Indiana attorney
                        general with redactions

  8/08/19      ACC      Review documents provided to us by the               1.40               301.00
                        Indiana attorney general to determine
                        the kinds of redactions made in both
                        the primary and secondary mark-up sets
     Case 18-09108-RLM-11MILLER, JOHNSON,
                           Doc 779         SNELL & CUMMISKEY,
                                    Filed 09/23/19                  P.L.C.
                                                           EOD 09/23/19 11:07:02   Pg 7 of 40
   ____                              Attorneys and Counselors

                                                 PO Box 306
                                       Grand Rapids, Michigan 49501-0306
                                                616.831.1700
                                            TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page     4
                                                           Inv# 1708523
                                                           Date 09/20/2019
                                                           42721.00002-DJG
-------------------------------------------------------------------------------



  8/08/19      ACC      Telephone conferences with James W.                   .10                21.50
                        Casteel regarding redaction of
                        documents produced to the Indiana
                        attorney general

  8/08/19      ACC      Email to Barnes & Thornburg regarding                 .20                43.00
                        document production and redaction
                        regarding list of documents sent by
                        the Indiana Attorney General

  8/13/19      ACC      Email to Barnes and Thornburg                         .30                64.50
                        regarding redactions of certain
                        documents raised by the Indiana
                        attorney general

  8/13/19      ACC      Review of documents referenced in list                .60               129.00
                        send by the Indiana attorney general
                        to review production images and
                        redactions in same

  8/14/19      JWC      Telephone conference with Alejandra                   .30                45.00
                        Contreras regarding productions to
                        Ropes & Gray in 2018

  8/14/19      ACC      Telephone conference with James W.                    .30                64.50
                        Casteel regarding productions made to
                        Ropes and Gray in 2018

  8/15/19      JWC      Search for documents for Indiana                      .80               120.00
                        Attorney General production in
                        Relativity

  8/15/19      JWC      Perform conflict checks of documents                 1.20               180.00
                        for Indiana Attorney General
                        production in Relativity

  8/15/19      JWC      Prepare documents for Indiana Attorney                .40                60.00
                        General production in Relativity

  8/15/19      JWC      Send Indiana Attorney General                         .20                30.00
                        production set for running in
     Case 18-09108-RLM-11MILLER, JOHNSON,
                           Doc 779         SNELL & CUMMISKEY,
                                    Filed 09/23/19                  P.L.C.
                                                           EOD 09/23/19 11:07:02   Pg 8 of 40
   ____                              Attorneys and Counselors

                                                 PO Box 306
                                       Grand Rapids, Michigan 49501-0306
                                                616.831.1700
                                            TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page     5
                                                           Inv# 1708523
                                                           Date 09/20/2019
                                                           42721.00002-DJG
-------------------------------------------------------------------------------



                        Relativity

  8/15/19      ACC      Coordinate production of documents                   1.20               258.00
                        related to certain individuals with
                        Epiq, Barnes and Thornburg and James
                        W. Casteel

  8/15/19      ACC      Review and deliver USAG_INDAG 52 to                   .10                21.50
                        Barnes and Thornburg

  8/16/19      ACC      Prepare production of additional                      .20                43.00
                        documents to the Indiana attorney
                        general with Barnes and Thornburg

  8/16/19      ACC      Deliver USAG_INDAG_53 to Barnes and                   .10                21.50
                        Thornburg

  8/18/19      CJS      Correspondence with Jenner & Block                    .20                70.00
                        regarding open investigation matter

  8/20/19      JWC      Download production USAG_INDAG_052 to                 .20                30.00
                        local network

  8/20/19      JWC      Download production USAG_INDAG_053 to                 .20                30.00
                        local network

  8/20/19      JWC      Provide external production locations                 .20                30.00
                        in Relativity

  8/20/19      JWC      Download production letters                           .20                30.00

  8/20/19      JWC      Organize production letters on network                .20                30.00

  8/20/19      JWC      Investigate production parties in                     .80               120.00
                        Relativity

  8/22/19      ACC      Review Barnes and Thornburg cover                     .20                43.00
                        letter for production of documents to
                        the Indiana attorney general

  8/22/19      CJS      Correspondence with Jenner & Block and                .20                70.00
     Case 18-09108-RLM-11MILLER, JOHNSON,
                           Doc 779         SNELL & CUMMISKEY,
                                    Filed 09/23/19                  P.L.C.
                                                           EOD 09/23/19 11:07:02   Pg 9 of 40
   ____                              Attorneys and Counselors

                                                 PO Box 306
                                       Grand Rapids, Michigan 49501-0306
                                                616.831.1700
                                            TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page     6
                                                           Inv# 1708523
                                                           Date 09/20/2019
                                                           42721.00002-DJG
-------------------------------------------------------------------------------



                        Rebecca L. Strauss regarding requested
                        documents and information

  8/22/19      CJS      Telephone conference with Rebecca L.                  .50               175.00
                        Strauss regarding response to
                        requested information and documents

  8/23/19      ACC      Draft email to Barnes and Thornburg                   .30                64.50
                        regarding certain questions sent by
                        the Indiana attorney general

  8/23/19      ACC      Coordinate first production of                       2.10               451.50
                        documents previously produced to law
                        enforcement to Jenner and Block

  8/27/19      JWC      Perform additional conflict checks on                 .80               120.00
                        reproduction set

  8/27/19      JWC      Prepare reproduction set for running                  .60                90.00
                        in Relativity

  8/27/19      JWC      Send reproduction set for running in                  .20                30.00
                        Relativity

  8/27/19      ACC      Telephone conference with Rebecca L.                  .20                43.00
                        Strauss regarding production of
                        documents to the Indiana attorney
                        general

  8/27/19      ACC      Quality control review of documents in                .30                64.50
                        latest Indiana attorney general
                        production

  8/27/19      ACC      Address issue regarding privileged                    .50               107.50
                        documents in production INDAG_52 with
                        Barnes and Thornburg, Rebecca L.
                        Strauss and James W. Casteel

  8/27/19      ACC      Email to Barnes and Thornburg                         .30                64.50
                        regarding addressing questions sent by
                        Indiana attorney general regarding
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 10 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page     7
                                                           Inv# 1708523
                                                           Date 09/20/2019
                                                           42721.00002-DJG
-------------------------------------------------------------------------------



                        previous productions

  8/27/19      CJS      Review of letter regarding document                     .20                70.00
                        production

  8/27/19      RLS      Work on latest production of documents                1.20                420.00
                        to Indiana Attorney General

  8/28/19      JWC      Download reproduction USAG_INDAG_052                    .60                90.00

  8/28/19      JWC      Extract reproduction USAG_INDAG_052                     .20                30.00

  8/28/19      JWC      Prepare reproduction USAG_INDAG_052                     .40                60.00
                        for delivery

  8/28/19      JWC      Send reproduction USAG_INDAG_052 for                    .20                30.00
                        delivery

  8/28/19      JWC      Investigate bates issue                               1.60                240.00

  8/28/19      JWC      Download production letter to save                      .20                30.00

  8/28/19      ACC      Communications with Barnes and                          .20                43.00
                        Thornburg regarding USAG_INDAG_52 and
                        letter to the Indiana attorney general

  8/28/19      ACC      Review documents previously produced                  1.20                258.00
                        to Ropes and Gray to address questions
                        provided by Barnes and Thornburg and
                        the Indiana attorney general

  8/28/19      AEM      Email correspondence with Alejandra                     .20                58.00
                        Contreras regarding productions to
                        Indiana Attorney General

  8/29/19      CJS      Telephone conference with Mark Stuaan                   .20                70.00
                        regarding Indiana AG production and
                        potential meeting

  8/29/19      CJS      Correspondence with Mark Stuaan                         .20                70.00
                        regarding privilege log for Indiana AG
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02            Pg 11 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page     8
                                                           Inv# 1708523
                                                           Date 09/20/2019
                                                           42721.00002-DJG
-------------------------------------------------------------------------------




  8/30/19      JWC      Update production tracker with links                           1.80                270.00
                        to production letters

  8/30/19      CJS      Telephone conference with Rebecca L.                           1.20                420.00
                        Strauss, Gayle Littleton, and Mark
                        Stuaan regarding privilege issues


                        TOTAL HOURS                                                   40.00

                                      Total Services                                              8,426.00


                                        Attorney Summary

                                                                            Hours     Rate                 Amount

Casteel, James W                Lit Support Proj Mg                         14.10   150.00           2,115.00
Schneider, Christopher J.       Member                                       3.30   350.00           1,155.00
Strauss, Rebecca L.             Member                                       1.20   350.00             420.00
Murphy, Amy E.                  Associate                                    1.80   290.00             522.00
Contreras-Caballero, Alej       Associate                                   19.60   215.00           4,214.00

                                                                            40.00                    8,426.00



                                      Total This Invoice                                          8,426.00



                                    Invoices Due Upon Receipt
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 12 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page     9
                                                           Inv# 1708523
                                                           Date 09/20/2019
                                                           42721.00002-DJG
-------------------------------------------------------------------------------




                        OUTSTANDING ACCOUNTS RECEIVABLE

                                                             PAYMENTS
    INVOICE                        INVOICE                    AGAINST        INVOICE
    NUMBER          DATE            AMOUNT                    INVOICE        BALANCE

     1690140      2/14/19             46,412.85                  37,183.65      9,229.20
     1691019      3/18/19             26,448.80                  21,491.90      4,956.90
     1694036      4/17/19             21,810.30                  17,454.60      4,355.70
     1696898      5/21/19             18,459.25                  14,769.05      3,690.20
     1699810      6/13/19             12,034.50                   9,627.60      2,406.90
     1702745      7/15/19             11,082.50                   8,866.00      2,216.50
     1705620      8/20/19             12,567.50                        .00     12,567.50

                                        Prior Unpaid Balance                            39,422.90

                                        Total Amount Due                                47,848.90
   Case 18-09108-RLM-11 MDoc
                         ILLER,
                             779JOHNSON,   SNELL & CUMMISKEY,
                                   Filed 09/23/19                   P.L.C.
                                                          EOD 09/23/19  11:07:02    Pg 13 of 40
  ____                               Attorneys and Counselors
  ____
                                                 PO Box 306
                                       Grand Rapids, Michigan 49501-0306
                                                616.831.1700
                                            TAX ID# XX-XXXXXXX




                                                                           Inv# 1708523
                                                                           Date 09/20/2019
                                                                           42721.00002-DJG
 USA Gymnastics
 Accounts Payable
 130 E Washington Street
 Suite 700
 Indianapolis, IN 46204

Re:   Ropes & Gray and Other Investigations

                                      REMITTANCE ADVICE


For Legal Services Rendered through August 31, 2019


                             Total Services                                              8,426.00




                             Total This Invoice                                          8,426.00
                                                                                   ==============




                          Invoice Is Due Upon Receipt

       Our remit address is: PO Box 306, Grand Rapids, MI.                  49501-0306

       Payments: If paying by check please return the remittance advice
       or write your invoice number(s) on your check. You may also pay by
       credit or debit card through our online payment portal
       www.millerjohnson.com/onlinepayments. If you have any questions
       regarding this invoice or you wish to set up ACH payments please
       call 616-831-1700 and ask for the collections department.
Case 18-09108-RLM-11   Doc 779   Filed 09/23/19   EOD 09/23/19 11:07:02   Pg 14 of 40




             EXHIBIT A(2)
   Case 18-09108-RLM-11 MDoc
                         ILLER,
                             779JOHNSON,   SNELL & CUMMISKEY,
                                   Filed 09/23/19                   P.L.C.
                                                          EOD 09/23/19  11:07:02   Pg 15 of 40
  ____                               Attorneys and Counselors

                                                 PO Box 306
                                       Grand Rapids, Michigan 49501-0306
                                                616.831.1700
                                            TAX ID# XX-XXXXXXX


                                                                           Page     1
                                                                           Inv# 1708524
                                                                           Date 09/20/2019
                                                                           42721.00006-DJG
 USA Gymnastics
 Accounts Payable
 130 E Washington Street
 Suite 700
 Indianapolis, IN 46204


Re:   CJS Chief Legal Officer

For Legal Services Rendered through August 31, 2019


 8/01/19      AEM      Telephone conference with Christopher                   .10                29.00
                       J. Schneider regarding presentation to
                       senior staff regarding Ted Stevens Act
                       and proposed legislative changes

 8/01/19      AEM      Analyze proposed legislation amending                 2.90                841.00
                       the Ted Stevens Act

 8/01/19      AEM      Prepare summary of proposed amendments                2.20                638.00
                       to Ted Stevens Act

 8/01/19      MDP      Draft USA Gymnastics Board of                           .80               156.00
                       Directors Regular Meeting Minutes for
                       July 11, 2019 and send to Christopher
                       J. Schneider

 8/01/19      MDP      Draft USA Gymnastics Executive Meeting                  .50                97.50
                       Minutes for July 11, 2019 and send to
                       Christopher J. Schneider

 8/01/19      MDP      Compile list of outstanding USA                         .50                97.50
                       Gymnastics Board of Directors meeting
                       minutes for Christopher J. Schneider

 8/01/19      RLP      Draft memo discussing summary and                     5.00                625.00
                       analysis of


 8/01/19      CJS      Communication with Stefanie Korepin                     .10                35.00
                       regarding engagement letter

 8/01/19      CJS      Communications with Li Li Leung,                        .20                70.00
                       Stefanie Korepin, and Amy E. Murphy
                       regarding Ted Stevens Act overview and
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 16 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page     2
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------



                        summary of proposed changes

  8/01/19      CJS      Telephone conference with Li Li Leung                   .40               140.00
                        regarding open issues

  8/01/19      CJS      Telephone conference with Li Li Leung                   .30               105.00
                        regarding legal advice on
                        communications issue

  8/01/19      CJS      Correspondence with Mark Busby                          .10                35.00
                        regarding SafeSport matter

  8/01/19      CJS      Correspondence with Li Li Leung and                     .20                70.00
                        Mark Busby regarding SafeSport matters

  8/01/19      CJS      Revise proposed correspondence                          .30               105.00
                        regarding SafeSport matter

  8/01/19      CJS      Correspondence with Mark Busby                          .10                35.00
                        regarding new SafeSport matter

  8/01/19      CJS      Correspondence from Leslie King                         .20                70.00
                        regarding Senate bill

  8/02/19      AEM      Further research                                      2.80                812.00




  8/02/19      MMO      Review email from Stefanie Korepin                      .20                55.00
                        regarding acceptable documents to




  8/02/19      MDP      Conference meeting with Christopher J.                  .20                39.00
                        Schneider discussing outstanding USAG
                        Board of Directors Meeting Minutes

  8/02/19      CJS      Review proposed communications                          .30               105.00
                        statement to reflect legal advice
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 17 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page     3
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------




  8/02/19      CJS      Initial review of vendor contract                       .10                35.00

  8/02/19      CJS      Telephone conference with Leslie King                   .10                35.00
                        regarding legal advice on
                        communications statement

  8/02/19      CJS      Correspondence with coverage counsel                    .10                35.00
                        regarding deposition transcript of
                        potential expert witness

  8/02/19      CJS      Analysis of deposition transcript of                    .20                70.00
                        potential expert witness

  8/02/19      CJS      Revise form offer letter                                .20                70.00

  8/02/19      CJS      Revise regular and executive session                  2.10                735.00
                        minutes for multiple board meetings

  8/02/19      CJS      Participate in joint meeting between                    .80               280.00
                        Ethics & Grievance Committee and
                        Trampoline & Tumbling Selection
                        Committee

  8/02/19      CJS      Prepare for joint meeting of Ethics &                   .30               105.00

                        Grievance and Trampoline & Tumbling
                        selection committees

  8/02/19      CJS      Telephone conference with Mark Busby                    .20                70.00
                        regarding bylaw issue

  8/02/19      CJS      Draft correspondence to Li Li Leung                     .30               105.00
                        regarding bylaw issue

  8/02/19      CJS      Follow-up correspondence with Stefanie                  .20                70.00
                        Korepin and Li Li Leung regarding
                        bylaw issue

  8/02/19      CJS      Correspondence from Mark Busby                          .20                70.00
                        regarding SafeSport matter
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 18 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page     4
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------



  8/02/19      CJS      Comment on proposed contract changes                    .40               140.00
                        from venue

  8/02/19      CJS      Follow-up correspondence with Jeff                      .10                35.00
                        Smith regarding MOU for event

  8/03/19      CJS      Correspondence with Michael D. Penny                    .10                35.00
                        regarding MOU with venue

  8/03/19      CJS      Correspondence with Board of Directors                  .20                70.00
                        regarding new Senate bill

  8/03/19      CJS      Analysis of supplier contract                           .20                70.00
                        regarding equipment issue

  8/04/19      CJS      Multiple correspondence with Li Li                      .20                70.00
                        Leung regarding SafeSport matter

  8/04/19      CJS      Draft legal update presentation for                     .80               280.00
                        Board of Directors meeting

  8/04/19      CJS      Revise proposed communications                          .50               175.00
                        materials to reflect legal advice

  8/05/19      MDP      Draft USA Gymnastics Board of                         1.00                195.00
                        Directors Regular Meeting Minutes for
                        May 16, 2019

  8/05/19      CJS      Review media article regarding                          .10                35.00
                        SafeSport matter

  8/05/19      CJS      Correspondence with Ivana Hong and                      .10                35.00
                        Paul Rugeri regarding Athletes'
                        Council matter

  8/05/19      CJS      Telephone conference with Mark Busby                    .10                35.00
                        regarding SafeSport matter

  8/05/19      CJS      Revise athlete participation agreement                  .70               245.00

  8/05/19      CJS      Draft correspondence to counsel for                     .70               245.00
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 19 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page     5
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------



                        venue regarding contract negotiation

  8/05/19      CJS      Telephone conference with Li Li Leung                   .20                70.00
                        regarding open matters

  8/05/19      CJS      Follow up correspondence with venue                     .10                35.00
                        regarding contract

  8/05/19      CJS      Correspondence with BDO regarding                       .10                35.00
                        audit information

  8/06/19      MDP      Review and revise USA Gymnastics Board                1.10                214.50
                        of Directors Regular Meeting Minutes
                        for May 16, 2019 and send to
                        Christopher J. Schneider

  8/06/19      MDP      Draft USA Gymnastics Board of                         1.00                195.00
                        Directors Regular Meeting Minutes for
                        June 13, 2019 and send to Christopher
                        J. Schneider

  8/06/19      MDP      Draft USA Gymnastics Board of                           .30                58.50
                        Directors Executive Meeting Minutes
                        for June 13, 2019 and send to
                        Christopher J. Schneider

  8/06/19      CJS      Telephone conference with attorney for                  .30               105.00
                        venue regarding contract

  8/06/19      CJS      Communications with Ivana Hong, Annie                   .40               140.00
                        Heffernon, and Leslie King regarding
                        bylaw issue

  8/06/19      CJS      Telephone conference with Ivana Hong                    .50               175.00
                        and Athlete Counsel representative
                        regarding bylaw issue

  8/06/19      CJS      Correspondence with counsel for                         .40               140.00
                        athlete representative regarding bylaw
                        issue
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 20 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page     6
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------



  8/06/19      CJS      Draft correspondence to athlete                         .30               105.00
                        representative's counsel regarding
                        bylaw issue

  8/06/19      CJS      Revise affidavit regarding insurance                    .10                35.00
                        policies

  8/06/19      CJS      Provide legal advice on proposed                        .20                70.00
                        communications statements

  8/06/19      CJS      Correspondence with Jeff Smith and                      .10                35.00
                        Michael E. Stroster regarding
                        immigration issue

  8/07/19      BRH      Prepare and file Trademark Application                  .70               203.00
                        for the mark USA GYMNASTICS design
                        mark and draft letter to client
                        enclosing Application

  8/07/19      AEM      Email correspondence with Christopher                   .10                29.00
                        J. Schneider and Justin Spring
                        regarding Olympic and World
                        Championship selection procedures

  8/07/19      CJS      Correspondence with Li Li Leung                         .20                70.00
                        regarding SafeSport matters

  8/07/19      CJS      To Kansas City for Board of Directors                 7.50          2,625.00
                        meeting

  8/07/19      CJS      Communications with Leslie King                         .30               105.00
                        regarding legal advice on
                        communications statements

  8/07/19      CJS      Revise                                                1.40                490.00


  8/07/19      CJS      Revise                                                  .60               210.00


  8/07/19      MES      Review correspondence regarding visa                    .80               320.00
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 21 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page     7
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------



                        matter

  8/08/19      MDP      Review and revise event contract and                  1.80                351.00
                        send to Christopher J. Schneider

  8/08/19      CJS      Attend Board of Directors meeting                     8.00          2,800.00

  8/08/19      CJS      Revise legal update presentation to                     .40               140.00
                        Board of Directors

  8/09/19      CJS      Meeting with Bernadette Barron                        1.30                455.00
                        regarding bankruptcy matters

  8/09/19      CJS      Return to Grand Rapids from Kansas                    7.80          2,730.00
                        City, including emails and calls

  8/10/19      CJS      Analysis of content license issue                     1.10                385.00

  8/11/19      AEM      Draft presentation for senior staff on                1.60                464.00
                        Ted Stevens Act

  8/12/19      ACC      Review documents related to certain                   2.60                559.00
                        individuals for whom additional
                        information was requested per
                        Christopher J. Schneider

  8/12/19      ACC      Draft memorandum regarding documents                  2.00                430.00
                        in Relativity related to certain
                        individuals for whom additional
                        information was requested per
                        Christopher J. Schneider

  8/12/19      ACC      Review documents related to a certain                 1.00                215.00
                        individual, per Christopher J.
                        Schneider

  8/12/19      ACC      Draft summary regarding documents                       .80               172.00
                        related to a certain individual per
                        Christopher J. Schneider request

  8/12/19      AEM      Further draft presentation on Ted                       .30                87.00
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 22 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page     8
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------



                        Stevens Act

  8/12/19      CJS      Correspondence with Aon and bankruptcy                  .10                35.00
                        counsel regarding insurance renewal
                        certificates

  8/12/19      CJS      Prepare for hearing on claims                         1.00                350.00
                        objections

  8/12/19      MLT      Review communication from VP of Mens                    .20                80.00
                        Programming regarding athlete meetings

  8/13/19      ACC      Draft summary of documents related to                 1.30                279.50
                        certain individuals per Christopher J.
                        Schneider request

  8/13/19      CJS      Analysis of memorandum from Alejandra                   .30               105.00
                        Contreras regarding SafeSport matter

  8/13/19      MLT      Communication regarding employee                        .20                80.00
                        resignation with VP of Mens
                        Programming

  8/13/19      MLT      Communication with Christopher                          .20                80.00
                        Schneider regarding employee
                        resignation

  8/13/19      MLT      Review information provided by VP of                    .30               120.00
                        Mens Programming regarding athlete
                        matter

  8/13/19      MLT      Telephone conference with VP of Mens                    .50               200.00
                        programming regarding employee
                        resignation

  8/13/19      MLT      Communication with Christopher                          .50               200.00
                        Schneider regarding employee
                        resignation

  8/14/19      DAP      Telephone conference with Patrick                       .20                90.00
                        Murphy regarding discovery request in
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 23 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page     9
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------



                        third-party personal injury case from
                        Illinois

  8/14/19      CJS      Correspondence with Mary L. Tabin                       .10                35.00
                        regarding personnel matter

  8/14/19      CJS      On-site CLO work at USA Gymnastics                    4.00          1,400.00
                        offices

  8/15/19      ACC      Research regarding funding                            2.80                602.00
                        requirements for athletes to attend
                        competitions under the Ted Stevens
                        Act, USOC Bylaws and USAG Bylaws

  8/15/19      CJS      CLO work on site at USA Gymnastics                    8.70          3,045.00

  8/15/19      MLT      Review previous disciplinary memo to                    .30               120.00
                        athlete in preparation for additional
                        corrective action

  8/15/19      MLT      Review and revise corrective action                     .60               240.00
                        memo to athlete

  8/16/19      ACC      Review the Ted Stevens Act, USOC                      2.80                602.00
                        Bylaws and USAG Bylaw provisions
                        regarding protected competitions and
                        their applicability to certain
                        competitions and disciplines

  8/16/19      ACC      Draft memorandum for Christopher J.                   2.00                430.00
                        Schneider regarding the Ted Stevens
                        Act, USOC Bylaws and USAG Bylaw
                        provisions regarding protected
                        competitions and their applicability
                        to certain competitions and
                        disciplines

  8/16/19      ACC      Email to Christopher J. Schneider                       .20                43.00
                        regarding eligibility criteria

  8/16/19      BRH      Draft Video Content Release Form for                  1.00                290.00
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 24 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page    10
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------



                        use with social media content taken
                        for promotional videos

  8/17/19      CJS      Correspondence with Michael D. Penny                    .10                35.00
                        regarding contract matters

  8/18/19      CJS      Revise proposed agreement with AAF                    1.00                350.00

  8/18/19      CJS      Revise release agreement for online                     .30               105.00
                        content

  8/18/19      CJS      Correspondence with Alejandra                           .30               105.00
                        Contreras, Stefanie Korepin, and Mary
                        McDaniel regarding selection criteria
                        for Junior Worlds

  8/18/19      CJS      Revise confidentiality agreement                        .20                70.00

  8/19/19      MDP      Draft open issues list for event                      3.90                760.50
                        contract and send to Christopher J.
                        Schneider

  8/19/19      DAP      Communications with Christopher J.                      .10                45.00
                        Schneider regarding third-party
                        discovery request from personal injury
                        action in Illinois

  8/19/19      CJS      Review demand letter regarding                          .20                70.00
                        copyright issues

  8/19/19      CJS      Telephone conference with Mark Busby                    .10                35.00
                        regarding SafeSport matters

  8/20/19      AMC      Review and provide comments to                          .60               174.00
                        Athletic Training Services Agreement

  8/20/19      MDP      Review email from Christopher J.                        .10                19.50
                        Schneider concerning Athletic Trainer
                        Services Agreement

  8/20/19      MDP      Review Athletic Trainer Services                        .90               175.50
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 25 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page    11
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------



                        Agreement

  8/20/19      MDP      Conference telephone call with Anne                     .10                19.50
                        Marie Carson discussing the Athletic
                        Trainer Services Agreement

  8/20/19      MDP      Email Stefanie Korepin requesting                       .10                19.50
                        background information for Athletic
                        Trainer Services Agreement

  8/20/19      MLT      Communications with management                          .20                80.00
                        regarding employee resignation

  8/21/19      AMC      Telephone conference with Michael D.                    .30                87.00
                        Penny and Stephanie Korepin regarding
                        Athletic Trainer Services Agreement

  8/21/19      AMC      Further review and provide comments to                  .40               116.00
                        Athletic Trainer Services Agreement

  8/21/19      AMC      Begin review of Use License Agreement                   .40               116.00
                        received from S. Korepin

  8/21/19      MDP      Review email between Anne Marie Carson                  .10                19.50
                        and Stefanie Korepin regarding
                        independent contractor agreement

  8/21/19      MDP      Facilitate form independent contractor                  .20                39.00
                        agreements to Anne Marie Carson and
                        Christopher J. Schneider for review

  8/21/19      MDP      Telephone conference call with Anne                     .30                58.50
                        Marie Carson and Stefanie Korepin
                        discussing



  8/21/19      MDP      Review Master Services Agreement for                    .40                78.00
                        independent contractor agreements

  8/21/19      MDP      Office conference with Anne Marie                       .20                39.00
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 26 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page    12
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------



                        Carson regarding the Use License
                        Agreement that Stefanie Korepin sent
                        for review

  8/21/19      MDP      Review and revise form Master Services                  .70               136.50
                        Agreement for USA Gymnastics agreement

  8/22/19      AMC      Further review and provide comments to                  .60               174.00
                        Athletic Trainer Services Agreement

  8/22/19      MDP      Revise Master Services Agreement for                  1.40                273.00
                        USA Gymnastics and Knoxville
                        Orthopaedic Clinic

  8/22/19      MDP      Revise Master Services Agreement                        .80               156.00
                        pursuant to Anne Marie Carson comments

  8/22/19      MDP      Review USA Gymnastics form consent to                   .30                58.50
                        treat waiver of liability

  8/22/19      CJS      Communications with Li Li Leung                         .10                35.00
                        regarding SafeSport matter

  8/22/19      CJS      Telephone conference with Li Li Leung                   .50               175.00
                        and Mark Busby regarding SafeSport
                        matter

  8/22/19      CJS      Telephone conference with Stefanie                      .80               280.00
                        Korepin and departing employee for
                        exit interview

  8/22/19      CJS      Revise letter regarding SafeSport                       .50               175.00
                        matter

  8/22/19      CJS      Communications with Dan Campbell and                    .70               245.00
                        Li Li Leung regarding SafeSport matter

  8/23/19      CJS      Telephone conference with Li Li Leung                   .60               210.00
                        regarding contract and personnel
                        matters
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 27 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page    13
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------



  8/23/19      CJS      Revise MOU with venue regarding event                 1.00                350.00
                        agreement

  8/23/19      CJS      Revise sports commission contract for                 1.30                455.00
                        event

  8/23/19      CJS      Telephone conference with Jeff Smith                    .40               140.00
                        regarding contract

  8/23/19      CJS      Draft letter to community member                      1.50                525.00
                        regarding SafeSport matter

  8/23/19      CJS      Correspondence with Leslie King and                     .40               140.00
                        Bernadette Barron regarding
                        information needed for insurance
                        renewal

  8/23/19      CJS      Correspondence with Li Li Leung                         .40               140.00
                        regarding insurance issues in venue
                        contract

  8/23/19      CJS      Correspondence with Li Li Leung and                     .20                70.00
                        Jeff Smith regarding contract issue

  8/24/19      DAP      Analyze                                               1.80                810.00


  8/24/19      CJS      Review Center's decision on SafeSport                   .10                35.00
                        matter

  8/24/19      CJS      Correspondence with Mark Busby                          .10                35.00
                        regarding SafeSport matters

  8/25/19      CJS      Correspondence with reporting party                     .20                70.00
                        and Dan Campbell regarding SafeSport
                        matter

  8/25/19      CJS      Correspondence with D. Andrew Portinga                  .20                70.00
                        regarding insurance coverage for media
                        issue
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 28 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page    14
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------



  8/26/19      ACC      Review of documents in Relativity                     2.50                537.50
                        related to certain individuals

  8/26/19      ACC      Draft email to Christopher J.                           .20                43.00
                        Schneider regarding review of
                        documents in Relativity related to
                        certain individuals

  8/26/19      CJS      Telephone conference with Mark Busby                    .60               210.00
                        regarding SafeSport matters

  8/26/19      CJS      Review final draft of letter regarding                  .10                35.00
                        competition funding issue

  8/26/19      CJS      Revise athlete participation agreement                  .70               245.00
                        based on comments from athlete's agent

  8/26/19      CJS      Revise letter to parents regarding                      .50               175.00
                        competition funding issue

  8/26/19      CJS      Prepare for call                                      2.00                700.00
                                                    regarding proposed
                        legislation

  8/26/19      CJS      Analysis of media requests regarding                    .20                70.00
                        SafeSport matter

  8/26/19      CJS      Telephone conference with Leslie King                   .20                70.00
                        regarding legal advice on response to
                        media inquiry

  8/26/19      CJS      Participate in call                                   1.00                350.00
                                          regarding proposed
                        legislation

  8/26/19      CJS      Analysis of SafeSport matter,                           .70               245.00
                        including conference call with Mark
                        Busby and Li Li Leung

  8/26/19      CJS      Analysis of SafeSport issue, including                1.80                630.00
                        communications with Li Li Leung and
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 29 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page    15
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------



                        Mark Busby regarding same

  8/26/19      CJS      Attend SafeSport team meeting by                        .50               175.00
                        telephone

  8/27/19      ACC      Review USAG Bylaws, USOC Bylaws and                   1.60                344.00
                        Athlete Council Bylaws in answer to
                        Christopher J. Schneider's question
                        regarding elections

  8/27/19      ACC      Review documents in Relativity related                  .80               172.00
                        to athlete's council elections to
                        answer Christopher J. Schneider
                        question regarding elections

  8/27/19      ACC      Email to Christopher J. Schneider                       .20                43.00
                        regarding athletes council election
                        requirements

  8/27/19      ACC      Review documents in Relativity related                  .80               172.00
                        to competition funding issue

  8/27/19      BRH      Office conference with Christopher J.                 1.30                377.00
                        Schneider regarding various
                        intellectual property and licensing
                        matters

  8/27/19      CJS      Correspondence with Mark Busby                          .10                35.00
                        regarding SafeSport matter

  8/27/19      CJS      Analysis of memorandum from D. Andrew                   .30               105.00
                        Portinga regarding


  8/27/19      CJS      Correspondence with Aon regarding                       .10                35.00



  8/27/19      CJS      Revise consent form for social media                    .80               280.00
                        content
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 30 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page    16
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------



  8/27/19      CJS      Telephone conference with Leslie King                   .40               140.00
                        regarding pre-petition claims

  8/27/19      CJS      Correspondence with contractor                          .20                70.00
                        regarding contract renewal

  8/27/19      CJS      Attend Senior Leadership Team meeting                 1.10                385.00
                        by telephone

  8/27/19      CJS      Correspondence with Melissa Root, Li                    .20                70.00
                        Li Leung, and Bernadette Barron
                        regarding potential critical vendor
                        motion

  8/27/19      CJS      Correspondence with Li Li Leung                         .10                35.00
                        regarding IEC minutes

  8/27/19      CJS      Correspondence with Li Li Leung                         .20                70.00
                        regarding confidentiality issue

  8/27/19      CJS      Correspondence with Mark Busby                          .30               105.00
                        regarding suspended members list issue

  8/27/19      CJS      Telephone conference with Li Li Leung                   .70               245.00
                        and SafeSport team regarding feedback
                        on the Center

  8/27/19      CJS      Telephone conference with Janey Miller                  .20                70.00
                        and Leslie King regarding open
                        contract issue

  8/27/19      CJS      Correspondence with Alejandra                           .10                35.00
                        Contreras regarding Athlete Council
                        elections

  8/27/19      CJS      Office conference with Brittany R.                      .70               245.00
                        Harden regarding open intellectual
                        property issues

  8/27/19      CJS      Analysis of intellectual property                       .50               175.00
                        issue and potential response to demand
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 31 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page    17
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------



                        letter

  8/27/19      CJS      Telephone conference with Leslie King                   .40               140.00
                        regarding legal advice on media matter
                        and regarding contract issue

  8/27/19      CJS      Communications with Mark Busby                          .20                70.00
                        regarding SafeSport matter

  8/27/19      CJS      Revise TIG lost policies brief                          .50               175.00

  8/27/19      CJS      Analysis of information for critical                    .20                70.00
                        vendor motion

  8/27/19      CJS      Correspondence with Bernadette Barron                   .20                70.00
                        and Jenner & Block regarding critical
                        vendor motion

  8/28/19      ACC      Review documents in Relativity related                1.50                322.50
                        to athlete's council elections to
                        answer Christopher J. Schneider
                        question regarding elections

  8/28/19      ACC      Per Christopher J. Schneider request,                   .70               150.50
                        review documents in Relativity related
                        to athlete funding for the world
                        championships

  8/28/19      MDP      Review Use License Agreement for event                1.90                370.50

  8/28/19      DAP      Communication with Aon regarding claim                  .20                90.00
                        reporting

  8/28/19      DAP      Review insurance policy                                 .30               135.00

  8/28/19      DAP      Provide notice to insurer of potential                  .30               135.00
                        claim under policy

  8/28/19      CJS      Correspondence with broker regarding                    .10                35.00
                        insurance coverage issue
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 32 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page    18
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------



  8/28/19      CJS      Correspondence with Jeff Smith                          .10                35.00
                        regarding venue contract

  8/28/19      CJS      Correspondence with Shelba Waldron                      .10                35.00
                        regarding USOPC compliance checklist

  8/28/19      CJS      Analysis of information from Alejandra                  .50               175.00
                        Contreras regarding athlete funding
                        for world championships

  8/28/19      CJS      Correspondence with Stefanie Korepin                    .20                70.00
                        regarding athlete funding for world
                        championships

  8/28/19      CJS      Correspondence with Mark Stuaan, Mark                   .20                70.00
                        Busby, and Shelba Waldron regarding
                        potential meeting with Indiana AG's
                        office

  8/28/19      CJS      Telephone conference with Li Li Leung                   .50               175.00
                        regarding open legal matters

  8/28/19      CJS      Revise proposed changes to national                   1.00                350.00
                        team documents from team member

  8/28/19      CJS      Draft email to Board of Directors                       .40               140.00
                        regarding legal update

  8/28/19      CJS      Telephone conference with Kathryn                       .30               105.00
                        Carson regarding open matters

  8/28/19      CJS      Correspondence with Jeff Smith                          .10                35.00
                        regarding event venue contract

  8/28/19      CJS      Telephone conference with Leslie King                   .50               175.00
                        regarding media-related revisions to
                        national team handbook

  8/28/19      CJS      Revise proposed communications                          .40               140.00
                        statement to reflect legal advice
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 33 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page    19
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------



  8/28/19      CJS      Revise proposed communications                          .20                70.00
                        statement to reflect legal advice

  8/28/19      CJS      Correspondence with Li Li Leung                         .10                35.00
                        regarding venue contract

  8/28/19      CJS      Correspondence with Justin Toman                        .10                35.00
                        regarding legal update to Board of
                        Directors

  8/28/19      MLT      Communication with employee regarding                   .20                80.00
                        personnel matter

  8/28/19      MLT      Draft analysis to Christopher J.                      1.00                400.00
                        Schneider regarding employment issues
                        concerning personnel matter

  8/28/19      MLT      Communication with Christopher J.                       .10                40.00
                        Schneider regarding personnel matter

  8/29/19      BRH      Review music licensing proposals and                  1.00                290.00
                        status in connection with past
                        correspondence

  8/29/19      MMO      Draft and revise offer letter for new                   .80               220.00
                        hire

  8/29/19      MDP      Email from Christopher J. Schneider                     .10                19.50
                        discussing drafting form License
                        Agreement for USA Gymnastics

  8/29/19      CJS      Analysis of information for critical                    .20                70.00
                        vendor motion

  8/29/19      CJS      Correspondence with Melissa Root                        .10                35.00
                        regarding information for critical
                        vendor motion

  8/29/19      CJS      Follow-up correspondence with Melissa                   .20                70.00
                        Root and Bernadette Barron regarding
                        information for critical vendor motion
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 34 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page    20
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------




  8/29/19      CJS      Correspondence with Mark Busby and Kim                  .10                35.00
                        Riley regarding bylaw issue

  8/29/19      CJS      Correspondence with Michael D. Penny                    .10                35.00
                        regarding form agreement for premier
                        events

  8/29/19      CJS      Analysis of correspondence from                         .50               175.00
                        Selection Committee for Trampoline &
                        Tumbling

  8/29/19      CJS      Telephone conference with Scott                         .20                70.00
                        Lineberry regarding ethics issue for
                        Selection Committee

  8/29/19      CJS      Correspondence with Selection                           .40               140.00
                        Committee and Ethics & Grievance
                        committee regarding conflict issue

  8/29/19      CJS      Revise offer letter for new position                    .30               105.00

  8/29/19      CJS      Correspondence with Li Li Leung                         .20                70.00
                        regarding new position and conflict of
                        interest policy

  8/29/19      CJS      Draft response letter to Warner Music                 1.70                595.00
                        Group

  8/29/19      CJS      Revise critical vendor motion                           .70               245.00

  8/29/19      CJS      Correspondence with Leslie King                         .30               105.00
                        regarding legal advice on proposed
                        communications statement

  8/29/19      CJS      Draft responses to Chubb regarding                      .30               105.00
                        intellectual property claim

  8/29/19      CJS      Correspondence with Brittany R. Harden                  .20                70.00
                        regarding music licensing
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 35 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page    21
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------



  8/29/19      CJS      Communications with Mark Busby                          .30               105.00
                        regarding SafeSport matter

  8/29/19      CJS      Telephone conference with Leslie King                   .20                70.00
                        regarding critical vendor motion

  8/29/19      CJS      Telephone conference with Mark Busby                    .20                70.00
                        regarding SafeSport matter

  8/29/19      CJS      Telephone conference with Leslie King                   .10                35.00
                        regarding motion to employ

  8/30/19      MDP      Review suggested revisions to License                 2.60                507.00
                        Agreement

  8/30/19      DAP      Exchange emails with Christopher J.                     .20                90.00
                        Schneider regarding insurance claim

  8/30/19      CJS      Communications with Kevin White                         .20                70.00
                        regarding open legal matters

  8/30/19      CJS      Revise communications statement to                      .20                70.00
                        reflect legal advice, for Leslie King

  8/30/19      CJS      Revise responses to insurers on                         .20                70.00
                        intellectual property claim

  8/30/19      CJS      Correspondence with Janey Miller                        .20                70.00
                        regarding critical vendor motion

  8/30/19      CJS      Correspondence with Li Li Leung and                     .30               105.00
                        Mark Busby regarding the Center's
                        administrative holds

  8/30/19      CJS      Correspondence from Mark Busby                          .20                70.00
                        regarding SafeSport matter

  8/30/19      CJS      Revise close-out letter regarding                       .60               210.00
                        SafeSport matter

  8/30/19      CJS      Analysis of the Center's                                .30               105.00
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02            Pg 36 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page    22
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------



                        administrative holds

  8/30/19      CJS      Correspondence from Shelba Waldron                              .20                 70.00
                        regarding SafeSport conference

  8/30/19      CJS      Correspondence with SafeSport team                              .10                 35.00
                        regarding preparation for Center audit

  8/30/19      CJS      Telephone conference with Mark Busby                            .10                 35.00
                        regarding administrative holds from
                        the Center

  8/30/19      CJS      Revise proposed communications                                  .20                 70.00
                        statement to reflect legal advice

  8/30/19      CJS      Revise letter regarding the Center's                            .40                140.00
                        administrative holds

  8/31/19      CJS      Review correspondence from SafeSport                            .20                 70.00
                        respondent


                        TOTAL HOURS                                                  173.80

                                      Total Services                                             52,702.50


                                        Attorney Summary


                                                                            Hours     Rate                 Amount

Portinga, D. Andrew             Member                                       3.10   450.00           1,395.00
Schneider, Christopher J.       Member                                      98.20   350.00          34,370.00
Stroster, Michael E.            Member                                        .80   400.00             320.00
Tabin, Mary L.                  Member                                       4.30   400.00           1,720.00
Carson, Anne Marie              Associate                                    2.30   290.00             667.00
Harden, Brittany R.             Associate                                    4.00   290.00           1,160.00
Murphy, Amy E.                  Associate                                   10.00   290.00           2,900.00
O'Rourke, Matthew M.            Associate                                    1.00   275.00             275.00
Penny, Michael D                Associate                                   21.30   195.00           4,153.50
Contreras-Caballero, Alej       Associate                                   23.80   215.00           5,117.00
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02             Pg 37 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page    23
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------



                                        Attorney Summary

                                                                             Hours     Rate                 Amount

Perez, Richard L                Clerk                                         5.00   125.00                 625.00

                                                                            173.80                   52,702.50


                Expenses

                Reproductions 42 pages                                                  6.30
                Reproductions 1 pages                                                    .50
                U.S. PATENT & TRADEM Check #                 - 0002                   550.00
                Filing Fee
                Reproductions 2 pages                                                    .30
                Reproductions 16 pages                                                  2.40
                Reproductions 2 pages                                                    .30
                CHRISTOPHER J. SCHNE Check #                 - 9990                    32.17
                Taxi
                CHRISTOPHER J. SCHNE Check #                 - 9990                    12.12
                Taxi
                CHRISTOPHER J. SCHNE Check #                 - 9990                     6.98
                Taxi
                CHRISTOPHER J. SCHNE Check #                 - 9990                   592.00
                Airplane Tickets
                CHRISTOPHER J. SCHNE Check #                 - 9990                    11.34
                Meals
                CHRISTOPHER J. SCHNE Check #                 - 9990                     4.29
                Meals
                CHRISTOPHER J. SCHNE Check #                 - 9990                    13.00
                Taxi
                CHRISTOPHER J. SCHNE Check #                 - 9990                     9.95
                Taxi
                CHRISTOPHER J. SCHNE Check #                 - 9990                    42.92
                Travel Expense
                Reproductions 146 pages                                                21.90
                Reproductions 10 pages                                                  1.50
                Reproductions 12 pages                                                  1.80
                CHRISTOPHER J. SCHNE Check #                 - 9990                    16.00
                Travel Expense- Flight wifi
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 38 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page    24
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------



                Expenses


                CHRISTOPHER J. SCHNE Check # -                   9990        40.73
                Meals
                CHRISTOPHER J. SCHNE Check # -                   9990         4.59
                Meals
                Computer Assisted Research                                  232.00
                CHRISTOPHER J. SCHNE Check # -                   9990       193.77
                Travel Expense-Hotel
                CHRISTOPHER J. SCHNE Check # -                   9990        67.05
                Meals
                CHRISTOPHER J. SCHNE Check # -                   9990        13.03
                Meals
                Reproductions 20 pages                                        3.00
                Reproductions 22 pages                                        3.30
                Reproductions 18 pages                                        2.70
                Reproductions 18 pages                                        2.70
                Reproductions 18 pages                                        2.70
                Reproductions 2 pages                                          .30
                Reproductions 1 pages                                          .15
                Reproductions 5 pages                                          .75
                Computer Assisted Research                                   48.00
                                Total Expenses                                           1,940.54


                                      Total This Invoice                                54,643.04



                                    Invoices Due Upon Receipt
    Case 18-09108-RLM-11 MDoc
                          ILLER,
                              779JOHNSON,   SNELL & CUMMISKEY,
                                    Filed 09/23/19                   P.L.C.
                                                           EOD 09/23/19  11:07:02   Pg 39 of 40
   ____                               Attorneys and Counselors

                                                  PO Box 306
                                        Grand Rapids, Michigan 49501-0306
                                                 616.831.1700
                                             TAX ID# XX-XXXXXXX



  USA Gymnastics
                                                           Page    25
                                                           Inv# 1708524
                                                           Date 09/20/2019
                                                           42721.00006-DJG
-------------------------------------------------------------------------------




                        OUTSTANDING ACCOUNTS RECEIVABLE

                                                             PAYMENTS
    INVOICE                        INVOICE                    AGAINST        INVOICE
    NUMBER          DATE            AMOUNT                    INVOICE        BALANCE

     1690179      2/14/19             73,608.76                  59,124.96     14,483.80
     1691021      3/18/19             64,476.01                  51,679.21     12,796.80
     1694037      4/17/19             81,436.49                  65,321.49     16,115.00
     1696899      5/21/19             73,299.57                  59,053.17     14,246.40
     1699811      6/13/19             83,847.71                  67,560.31     16,287.40
     1702747      7/15/19             94,745.27                  77,446.17     17,299.10
     1705622      8/20/19             30,636.70                        .00     30,636.70

                                        Prior Unpaid Balance                           121,865.20

                                        Total Amount Due                               176,508.24
   Case 18-09108-RLM-11 MDoc
                         ILLER,
                             779JOHNSON,   SNELL & CUMMISKEY,
                                   Filed 09/23/19                   P.L.C.
                                                          EOD 09/23/19  11:07:02    Pg 40 of 40
  ____                               Attorneys and Counselors
  ____
                                                 PO Box 306
                                       Grand Rapids, Michigan 49501-0306
                                                616.831.1700
                                            TAX ID# XX-XXXXXXX




                                                                           Inv# 1708524
                                                                           Date 09/20/2019
                                                                           42721.00006-DJG
 USA Gymnastics
 Accounts Payable
 130 E Washington Street
 Suite 700
 Indianapolis, IN 46204

Re:   CJS Chief Legal Officer

                                      REMITTANCE ADVICE


For Legal Services Rendered through August 31, 2019


                             Total Services                                             52,702.50


                             Total Expenses                                              1,940.54




                             Total This Invoice                                         54,643.04
                                                                                   ==============




                          Invoice Is Due Upon Receipt

       Our remit address is: PO Box 306, Grand Rapids, MI.                  49501-0306

       Payments: If paying by check please return the remittance advice
       or write your invoice number(s) on your check. You may also pay by
       credit or debit card through our online payment portal
       www.millerjohnson.com/onlinepayments. If you have any questions
       regarding this invoice or you wish to set up ACH payments please
       call 616-831-1700 and ask for the collections department.
